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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division
ANDRE JUSTE,

       Plaintiff,
V.                                                                   Civil Action No.3:18CV625

JEFFREY B. SESSIONS,HI,et al.,

       Defendants.


                                 MEMORANDUM OPINION


       Plaintiff, a Virginia inmate, has submitted this action and requested leave to proceed in

forma pauperis. The pertinent statute provides:

       In no event shall a prisoner bring a civil action [informa pauperis] if the prisoner
       has, on 3 or more prior occasions, while incarcerated or detained in any facility,
       brought an action or appeal in a court of the United States that was dismissed on
       the grounds that it is frivolous, malicious, or fails to state a claim upon which
       relief may be granted, unless the prisoner is under imminent danger of serious
        physical injury.

28 U.S.C. § 1915(g). Plaintiff has at least three other actions or appeals that have been dismissed

as frivolous or for failure to state a claim. See, e.g.^ Juste v. Sessionsy No. 17-1503, 2017 WL

5256216, at *1 (2d Cir. Nov. 6, 2017); Juste v. VilardOy No. 6:17-CV-06842 EAW,2018 WL

401522, at *4(W.D.N.Y. Jan. 12, 2018); Juste v. Kerry, No. 17-327, 2017 WL 1251144, at *4

(W.D. Pa. Apr. 5, 2017); Juste v. Lindsay, No. 15-168,2015 WL 875363, at *2(W.D. Pa. Mar.

2, 2015). Plaintiffs current complaint does not suggest that he is in imminent danger of serious

physical harm. Accordingly, his request to proceed informa pauperis will be DENIED. The

action will be DISMISSED WITHOUT PREJUDICE.
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        Plaintiff remains free to submit a new complaint with the full $400 filing fee. The Court

will process such a complaint as a new civil action.

        An appropriate Order shall accompany this Memorandum Opinion.

        It is so ORDERED.




                                                            M. Hannj
         0CT 1 9 2018                                       United Siafes District Judge
Date:
Richmond, Virginia
